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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

  ESCO GROUP LLC,                      )
                                       )
               Plaintiff,              )
                                       )
               v.                      )      C.A. No. 20-1679-WCB-MPT
                                       )
  DEERE & COMPANY.                     )      PUBLIC VERSION FILED
                                       )
               Defendant.              )      MAY 10, 2023
                                       )

      OPENING BRIEF IN SUPPORT OF DEFENDANT DEERE & COMPANY'S
    MOTION TO EXCLUDE EXPERT TESTIMONY OF THOMAS R. VARNER, PH.D.



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          STATEMENT OF THE NATURE AND STAGE OF THE PROCEEDING

          ESCO brought this case on December 10, 2020, and amended the complaint on April 7,

 2021, asserting that Deere's TK Series Tooth products ("the TK Series") infringes two ESCO

 patents: U.S. Patent Nos. 10,273,662 and 8,844,175 ("the Asserted Patents"). (D.I. 1, 11.) The

 discovery period has closed. Trial is set for September 18, 2023. (D.I. 24.) 1

          SUMMARY OF THE ARGUMENTS

          1.    Dr. Varner should not be permitted to testify regarding lost profits because his

 opinion relies on an analysis of market share that conflates two markets, pulling the most

 advantageous data from each to arrive at an artificially high market share for the ESCO product

 on which ESCO bases its claim for lost profits, see, e.g., Crystal Semiconductor Corp. v. TriTech

 Microelectronics Intern., Inc., 246 F.3d 1336, 1353 (Fed. Cir. 2001), and relies on data points

 unsupported by the evidence, see, e.g., BIC Leisure Prods., Inc. v. Windsurfing Int'l, Inc., 1 F.3d

 1214, 1218 (Fed. Cir. 1993) ("An award of lost profits may not be speculative.").

          2.    Dr. Varner should not be permitted to testify regarding a reasonable royalty based

 on an 8% royalty rate because his analysis is based entirely on information unrelated to the claimed

 invention, relying on analysis of the alleged value of unidentified patents for two ESCO products

 that do not practice the claims of the Asserted Patents and for which there is no analysis of

 technological or economic comparability. See, e.g., Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d

 1292, 1316 (Fed. Cir. 2011); LaserDynamics, Inc. v. Quanta Computer, Inc., 694 F.3d 51, 81 (Fed.

 Cir. 2012); Zimmer Surgical, Inc. v. Stryker Corp., 365 F. Supp. 3d 466, 496 (D. Del. 2019).




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   The parties, including their respective Delaware counsel, met and conferred on the issues
 presented in this motion, as required under D. Del. LR 7.1.1, but no agreement could be reached.

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          STATEMENT OF FACTS

          This case arises from ESCO's assertions that Deere's TK Series product infringes the

 Asserted Patents. ESCO concedes that it provided no actual or constructive notice of the Asserted

 Patents to Deere before filing its complaint and amended complaint on December 10, 2020 and

 April 7, 2021 respectively, and that ESCO is therefore not entitled to damages before December

 10, 2020. (See ESCO Resp. Interrog. 16, Ex. D, at 52. 2) ESCO seeks damages in the form of lost

 profits (with a residual royalty and future lost profits) or, alternatively, in the form of a reasonable

 royalty. (See Varner Rpt. ¶¶ 12-14, Ex. I, at 99-100.)

          ESCO sells two products that allegedly practice the claims of the Asserted Patents—the

 GeoVor products used in offshore dredging operations and the Nemisys 3-Piece System products

 used in mining applications. (See ESCO Resp. to Interrog. 5, Ex. C, at 46; Stitzel Dep. at 39:11-

 23, Ex. G, at 74; 42:20-43:6, Ex. G, at 77-78; 103:1-11, Ex. G, at 84.) Neither of these two products

 compete in the same market as the accused TK Series, which is described as a "premium" segment

 of the U.S. construction expendables market. (See Stitzel Dep. at 39:11-23, Ex. G, at 74; 42:20-

 43:6, Ex. G, at 77-78; 103:1-11, Ex. G, at 84; Varner Rpt. ¶ 51, Ex. I, at 105-06.) ESCO sells a

 competing product in this market segment called Ultralok, but Ultralok does not practice the claims

 of the Asserted Patents. (See Stitzel Dep. at 100:24-101:2, Ex. G, at 81-82; ESCO Resp. to

 Interrog. 24, Ex. E, at 58-59.) ESCO's lost profits claim is based on allegedly lost sales of the

 Ultralok product. (See Varner Rpt. ¶ 12, Ex. I, at 99-100.)

          The parties agree that the hypothetical negotiation for a reasonable royalty would have


 2
   All citations to the record contain a designation to the pinpoint cite in the original document,
 followed by the exhibit number of the document in the appendix to this brief, followed by the
 pinpoint cite in the appendix. For example, in this citation, the specific portion of the original
 document cited is the response to Interrogatory No. 16, which is included in the appendix hereto
 as Exhibit D, with the response to Interrogatory No. 16 appearing on page 52 of that consecutively-
 paginated appendix.

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 occurred in September 2014, when the '175 Patent issued, or if the '662 Patent is found to be invalid

 or not infringed, in April 2019, when the '662 Patent issued. (See Varner Rpt. ¶ 78, Ex. I, at 114;

 Becker Rpt. ¶ 222, Ex. H, at 95-96.)

          THE IMPROPER OPINIONS OF DR. VARNER SHOULD BE EXCLUDED

          The admissibility of expert testimony in federal courts is governed principally by Fed. R.

 Evid. 702 and Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). "Daubert

 requires the district court to act as 'gatekeeper' and to assure that the scientific methodology upon

 which the expert opinion is founded is reliable." In re Paoli R.R. Yard PCB Litig., 35 F.3d 717,

 732 (3d Cir. 1994).

                 Dr. Varner's Lost Profits Opinion Relies on an Analysis of Market Share
                 That Is Not Based on Consistent, Reliable Data

          To recover lost profits, "a patent owner must prove a causal connection between the

 infringement and its loss of profits." Crystal Semiconductor, 246 F.3d at 1353 (quoting BIC

 Leisure Prods., 1 F.3d at 1218. "[T]he burden rests on the patentee to show a reasonable

 probability that 'but for' the infringing activity, the patentee would have made the infringer's sales."

 Crystal Semiconductor, 246 F.3d at 1353 (citations omitted). To meet this burden, "a patentee

 must reconstruct the market to show, hypothetically, 'likely outcomes with infringement factored

 out of the economic picture.'" Id. at 1355 (quoting Grain Processing Corp. v. Am. Maize-Prods.,

 185 F.3d 1341, 1350 (Fed. Cir. 1999)). A hypothetical market reconstruction requires "sound

 economic proof of the nature of the market." Id.

          Because the market at issue here involves several competitors beyond ESCO and Deere,

 Dr. Varner's opinion relies on the slightly modified "market share" approach to the traditional lost

 profits test set forth by Panduit Corp. v. Stahlin Bros. Fibre Works, 575 F.2d 1152, 1156 (6th Cir.

 1978). See also State Indus., Inc. v. Mor-Flo Indus., Inc., 883 F.2d 1573, 1578 (Fed. Cir. 1989);


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 Izumi Prods. Co. v. Koninklijke Philips Electronics N.V., 315 F. Supp. 2d 589, 614 (D. Del. 2004)

 ("Under [the market share] approach, a patentee recovers lost profits on the percentage of

 infringing sales equal to its market share.") (citing State Indus., supra); Procter & Gamble Co. v.

 Paragon Trade Brands, Inc., 989 F. Supp. 547, 601 (D. Del. 1997) (same).

          As recognized by the Federal Circuit in State Industries, the "market share" approach

 considers the patent owner's established market share and assumes that the patent owner would

 have captured infringing sales at the same rate as its established market share. 883 F.2d at 1578

 (using patent owner's market share, which would be "cap" where, as in this case, other competitors

 were not infringing the patent-in-suit). Using this market share approach, Dr. Varner goes beyond

 ESCO's established market share and seeks to calculate a hypothetical market share that ESCO

 would have received "but for" the allegedly infringing TK Series sales. In doing so, Dr. Varner

 selectively chooses the highest numbers from two different markets to artificially inflate ESCO's

 market share and consequently his lost profits opinion.

          Here, the parties generally agree that the market segment relevant to the Accused Products

 is the "premium" segment of the U.S. construction expendables market. (See Varner Rpt. ¶¶ 51-

 52, Ex. I, at 106-07; Becker Rpt. ¶ 41, Ex. H, at 89; id. ¶¶ 64-65, Ex. H, at 93-94.) Both the accused

 TK Series product and the Ultralok products for which ESCO alleges its lost sales compete in this

 premium market segment. (See id.) Dr. Varner assigns Ultralok's share of this premium market

              based upon a conversation with Mr. Stitzel (an ESCO manager). 3 (See Varner Rpt. ¶ 54,

 Ex. I, at 110; Exhibit 6, n. [1], Ex. I, at 138.) The accused TK Series share of this premium market

 segment is "             "—in the range of    %. (See Varner Dep. at 171:9-13, Ex. L, at 175 ("



 3
   While this % is also based upon unreliable and contradicted evidence, Deere understands those
 issues (as well as many other fallacies in Dr. Varner's analysis not addressed in this motion) to
 more properly be the subject of cross-examination.

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                 ."); id. at 168:17-169:3, Ex. L, at 172-73 (conceding that Becker's calculations of

     % to     % seem to be correct math).)

          To conduct his market share analysis, Dr. Varner does not just use the           share of the

 market that he assigns Ultralok, the approach endorsed by both the Federal Circuit and this District.

 See State Indus., 883 F.2d at 1578; Izumi Prods., 315 F. Supp. 2d at 614; Procter & Gamble, 989

 F. Supp. at 601. Rather, he seeks to assign Ultralok a higher market share by removing the TK

 Series sales from the market and calculating the hypothetically larger share that Ultralok would

 have had. In doing so, however, Dr. Varner ignores what he concedes to be a "                " market

 share for the TK Series in the relevant market and instead turns to a narrower market—the market

 for only replacement construction expendables on only Deere machines—to assign a higher market

 share of     % to the TK Series. 4 (Varner Rpt. ¶ 55, Ex. I, at 109-10; Exhibit 6, Ex. I, at 138; Budan

 Dep. 21:7-22:9, Ex. F, at 66-67.) Constructing a hypothetical market in which he was able to




 4
   Although Dr. Varner now claims this mix and match approach was always his intention, that
 claim appears to be untrue. Dr. Varner's opening report purported to analyze the shares of the
 premium segment of the U.S. market for both Ultralok                 and TK Series (at %). (Varner
 Rpt. Exhibit 6, Ex. I, at 138; see id. at ¶ 57, Ex. I, at 110 ("Exhibit 6 shows existing market shares
 of the premium segment of the market for bucket tooth systems in construction equipment in the
 U.S.").) Nowhere in Dr. Varner's opening report did he discuss a market segment for replacement
 expendables on Deere machines. (See generally Varner Rpt. ¶¶ 71-72, Ex. I, at 112 (discussing
 lost profits calculation); Exhibit 6, Ex. I, at 139; Exhibit 8.1(A), Ex. I, at 141.) Only when Deere's
 expert criticized Dr. Varner's reliance on a % TK Series market share that was contradicted by
 all evidence (including the very evidence on which Dr. Varner relied for the Ultralok market
 share), and pointed out that the TK Series only had % of the Deere machine market, did Dr.
 Varner attempt to explain his initial faulty analysis by claiming to have always intended to use the
 TK Series share from this narrower market. (See Varner Reply Rpt. ¶¶ 58-59, Ex. K, at 155-56.)
 And Dr. Varner's behavior since his Reply Report has further indicated that he appears to be
 making up his analysis as he goes. As discussed further in Deere's motion to strike, Dr. Varner
 submitted an "errata" a week after his deposition on Sunday, March 19, 2023 at 5:27 pm—nearly
 a full week after his March 13, 2023 deposition—that purported to rework these numbers entirely,
 assigning new market shares to the TK Series for the premium segment and to Ultralok for the
 Deere machine replacement market (both of which have no citation to or explanation of any
 source). (See Varner Mar. Errata ¶¶ 1-2 and Exhibit 6R, Ex. M, at 229-30.)

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 "remove" a      % share for TK and reassign that        % share to Ultralok and other competitors

 proportionately gave Ultralok     % of the hypothetical market rather than the smaller percentage

 that would have resulted from an analysis using the actual TK Series share of the premium market.

          Neither Dr. Varner nor ESCO disputes these realities. (See Varner Reply Rpt. ¶¶ 58-59,

 Ex. K, at 155-56; Varner Dep. at 163:6-164:20, Ex. L, at 167-68; 176:11-177:16, Ex. L, at 180-81

 (conceding he took the higher TK market share for Deere machines and the higher Ultralok market

 share for the entire premium segment).) Rather, Dr. Varner maintains conflating these two market

 segments was proper. (See Varner Dep. at 177:17-178:8, Ex. L, at 181-82; Varner Reply Rpt. ¶

 58, Ex. K, at 155-56).) Dr. Varner's own analysis shows the blatant fallacy of this statement.

 Having calculated his artificially high Ultralok market share, Dr. Varner then applies it to all TK

 sales in the premium segment, not just TK sales for replacement expendables on Deere machines.

 (See Varner Rpt. Exhibits 7.1(A) and 7.2(A), Ex. I, at 139-40 (calculating all Deere sales).)

          These issues pervade Dr. Varner's lost profits and future lost profits calculations. (See

 Varner Rpt. ¶ 74, Ex. I, at 33 (articulating future lost profits based on a    hypothetical market

 share for Ultralok).)    Because Dr. Varner's market reconstruction analysis for lost profits

 improperly cherry picks numbers to result in an artificially high lost profits calculation, Dr.

 Varner's opinions on ESCO's lost profit damages—both past and future—must be excluded.

                 Dr. Varner's Reasonable Royalty Opinion Relies on a Royalty Rate
                 That Is Based Entirely on Evidence Unrelated to the Claimed Invention

          "[D]amages awarded for patent infringement must reflect the value attributable to the

 infringing features of the product, and no more." CSIRO v. Cisco Sys., Inc., 809 F.3d 1295, 1301

 (Fed. Cir. 2015) (internal quotations omitted). "Given the great financial incentive parties have to

 exploit the inherent imprecision in patent valuation, courts must be proactive to ensure that the

 testimony presented—using whatever methodology—is sufficiently reliable to support a damages


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 award." Id.

          "While questions regarding which facts are most relevant for calculating a reasonable

 royalty are properly left to the jury, a critical prerequisite is that the underlying methodology be

 sound." VirnetX, Inc. v. Cisco Sys., Inc., 767 F.3d 1308, 1328 (Fed. Cir. 2014); CSIRO, 809 F.3d

 at 1301 ("[T]he essential requirement for reliability under Daubert is that the ultimate reasonable

 royalty award must be based on the incremental value that the patented invention adds to the end

 product.") (internal quotations omitted). "[W]here the data used is not sufficiently tied to the facts

 of the case, a damages model cannot meet the substantive statutory requirement of apportionment

 of royalty damage to the invention's value." CSIRO, 809 F.3d at 1302 (quotations omitted). Thus,

 the Federal Circuit has held that "[a]ny evidence unrelated to the claimed invention does not

 support compensation for infringement but punishes beyond the reach of the statute." Uniloc, 632

 F.3d at 1316 (quoting ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860, 869 (Fed. Cir. 2010)).

          Here, Dr. Varner concludes that the parties would have agreed upon a royalty rate of 8%

 in a hypothetical negotiation, which the parties agree would have taken place in September 2014.

 (See Varner Rpt. ¶ 128, Ex. I, at 136.) In reaching that conclusion, however, Dr. Varner relies on

 information unrelated to the technology of the Asserted Patents. Although Dr. Varner conducts a

 surface discussion of the hypothetical negotiation factors of Georgia-Pacific Corp. v. United States

 Plywood Corp., 318 F. Supp. 1116, 1120 (S.D.N.Y. 1970), he does not ultimately apply them to

 arrive at his 8% royalty rate. (See generally Varner Rpt. ¶¶ 84-128, Ex. I, at 116-36; Varner Dep.

 at 213:13-215:18, Ex. L, at 211-13.) Rather, Dr. Varner bases his 8% royalty rate on data unrelated

 to the claimed invention in any way.

          The starting point for Dr. Varner's 8% royalty rate comes from a comparison of two ESCO

 products unrelated to the Asserted Patents. (See Varner Rpt. ¶ 125, Ex. I, at 135.) Those two



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 products are (1) Ultralok, which does not practice the claims of the Asserted Patents but competes

 in the premium segment of the U.S. construction expendables market with the accused TK Series,

 and (2) Super V, an ESCO legacy product that neither practices the claims of the Asserted Patents

 nor competes in the same market as the accused TK Series. (See id.; Varner Dep. at 198:14-

 199:16, Ex. L, at 196-97 (conceding that Ultralok and Super V do not practice the claimed

 invention and stating, "I've looked at the ESCO Ultralok patents and the Super V patents as a

 benchmark for measuring patent protection.").) Dr. Varner compares ESCO's profit margins on

 the Ultralok and Super V products in 2020, 2021, and 2022. 5 (See Varner Rpt. ¶ 125, Ex. I, at

 135.) Finding that the Ultralok products had a profit margin averaging               than the Super

 V products in 2020-22 6 (see id.), Dr. Varner makes two speculative leaps. He first presumes that

 this     % difference in profit margin is entirely based on Super V products no longer being covered

 by patents and concludes that the value of the Ultralok patents must be               of Ultralok's

 profitability. (See id.; Varner Dep. at 194:2-195:20, Ex. L, at 192-93.) He then presumes that the

 accused TK Series derives the same value from its alleged use of the invention of the Asserted

 Patents (i.e., because Ultralok's profit margin is             than Super V,       of the TK Series




 5
   Dr. Varner's reasonable royalty opinion focused on data points from 2020-22 because that is the
 only period for which ESCO may recover damages, as ESCO concedes no notice was given prior
 to filing of the complaint on December 10, 2020. Dr. Varner testified that he believed he was
 allowed to look at this future data under the "book of wisdom" concept established in Sinclair
 Refining Co. v. Jenkins Petroleum Process Co., 289 U.S. 689 (1933). Dr. Varner, however,
 provided no analysis for why he arbitrarily believed data from the damages period would have
 informed a hypothetical negotiation in 2014 but completely ignored data from 2014 without
 explanation. (See Varner Rpt. ¶¶ 125-27, Ex, I, at 135-36; Varner Dep. 194:2-197:23, Ex. L, at
 192-95; 212:1-213:12, Ex. L, at 210-11.)
 6
   The March 19, 2023 Errata discussed supra is actually Dr. Varner's second errata. His first, dated
 January 16, 2023, modified his January 13, 2023 opening report and changed the            to
 (See Varner Jan. Errata, ¶ 11, Ex. J, at 146.) This modification was irrelevant to Dr. Varner's
 analysis, demonstrating even further that Dr. Varner is not actually conducting an analysis so much
 as picking a rate to arrive at a higher royalty calculation.

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 market). (See id. ¶ 126, Ex, I, at 135-36; Varner Dep. at 201:22-204:4, Ex. L, at 199-202; 206:7-

 207:2, Ex, L, at 204-05; 208:8-211:7, Ex. L, at 206-09.) And he provided no analysis for how the

 alleged value of the Asserted Patents to the accused TK Series was comparable either

 technologically or economically to the alleged value of the Super V patents (e.g., differences in

 technology, accounting for the TK Series products containing features claimed by other, non-

 ESCO patents). (See Varner Rpt. ¶ 126, Ex. I, at 135-36; Varner Dep. at 204:17-206:6, Ex. L, at

 202-04) In fact, Dr. Varner could not even identify the number of Super V patents, how many

 distinct inventions were covered by those patents, or what types of technology they covered. (See

 Varner Dep. at 204:17-206:6, Ex. L, at 202-04.)

          Finally, Dr. Varner looked at Deere's profitability on the Accused Products in 2019, 2020,

 and 2021 and concluded that Deere could pay the 8% royalty rate. (See Varner Rpt. ¶ 127, Ex. I,

 at 136; see also Varner Jan. Errata ¶ 13, Ex. J, at 147 (changing the years analyzed to 2020-22).)

          Dr. Varner never actually applied any of his Georgia-Pacific discussion to his 8% rate, but

 even if he had, starting from a faulty premise would negate any Georgia-Pacific analysis based on

 that faulty starting premise. See, e.g., Uniloc, 632 F.3d at 1317 ("Beginning from a fundamentally

 flawed premise and adjusting it based on legitimate considerations specific to the facts of the case

 nevertheless results in a fundamentally flawed conclusion.").

          The data relied on by Dr. Varner are entirely unrelated to the invention claimed in the

 Asserted Patents. Rather, his data points relate to the alleged value of patents that cover ESCO's

 Super V and Ultralok technology, neither of which practice the claims of the Asserted Patents.

 (See Varner Rpt. ¶¶ 125-28, Ex. I, at 135-36.) The record is devoid of any evidence that would

 support Dr. Varner's valuation of the Super V or Ultralok patents, let alone his speculative

 presumption that the value of those patents was precisely equal to the value of the Asserted Patents



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 to the accused TK Series. Although Dr. Varner paid lip service to the concept of technological

 comparability in his reply by saying he thought the Super V patents and the Asserted Patents were

 "blocking patents," he could not articulate what that meant, what information he based that

 conclusion on, or how that would result in technological comparability. 8 (See Varner Reply Rpt.

 ¶ 67, Ex. K, at 159; Varner Dep. 225:22-227:23, Ex. L, at 223-25.)

          Dr. Varner's speculative leaps (both in assigning "value" to the Super V and Ultralok

 patents and then in assuming that value was equal to the value of the Asserted Patents to the

 accused TK Series) render his opinion unreliable and unhelpful to a jury, and it must be excluded.

 See, e.g., LaserDynamics, 694 F.3d at 81 (excluding 6% royalty rate derived from licenses

 "untethered from the patented technology at issue" and ordering a new trial); Zimmer Surgical,

 365 F. Supp. 3d at 496 (excluding reliance on license where expert had "not established that the

 technology and value of the patents licensed in the prior agreements are not comparable to the

 technology and value of the patent-in-suit") (quoting Lucent Techs., Inc. v. Gateway, Inc., 580

 F.3d 1301, 1331 (Fed. Cir. 2009)). Although Dr. Varner relies on unrelated products and patents

 instead of licenses, the principles remain the same, and Dr. Varner's reasonable royalty opinion

 and similarly flawed residual royalty opinion must be excluded.

          CONCLUSION

          Accordingly, Deere respectfully requests that the Court exclude Dr. Varner's unreliable

 opinions on lost profits, future lost profits, residual royalty, and reasonable royalty.




 8
   This was one of many situations in which Dr. Varner "relied" on the opinions of other experts
 while conceding that he had not spoken with them or even reviewed their reports prior to his
 "reliance". (See, e.g., Varner Dep. at 184:1-187:25, Ex. L, at 188-91.) Here, he also conceded
 that none of ESCO's technical experts had opined on whether the Super V patent or the Asserted
 Patents were "blocking patents" and was unable to identify anyone who had told him that the
 Asserted Patents were allegedly "blocking patents." (See Varner Dep. at 227:1-23, Ex. L, 225.)

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